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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
AARON SABATER,                                                   :

                            Plaintiff,                            :

                                                                  :          ORDER
                  -against-
                                                                  :    17-CV-7135 (JPO)(KNF)
MONTIEFIORE MEDICAL CENTER,
                                                                  :
                             Defendant.
--------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         A settlement conference was held in the above-captioned action on October 14, 2020.

No settlement was achieved at that time. Therefore, the parties shall proceed in accordance with

the directives given to them on May 12, 2020, by the assigned district judge.

Dated: New York, New York                                         SO ORDERED:
       October 16, 2020
